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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


                                          )
 10X GENOMICS, INC. and PRESIDENT
                                          )
 AND FELLOWS OF HARVARD
                                          )
 COLLEGE,
                                          )
                        Plaintiffs,       )
                                          )
                                              C.A. No. 22-261 (MFK)
           v.                             )
                                          )
                                              JURY TRIAL DEMANDED
 NANOSTRING TECHNOLOGIES, INC.,           )
                                          )
                        Defendant.

 NANOSTRING TECHNOLOGIES, INC.,           )
                                          )
                  Counterclaim-Plaintiff, )
                                          )
         v.                               )
                                          )
 10X GENOMICS, INC.,                      )
                                          )
                 Counterclaim-Defendant.
                                          )
                                          )

 NANOSTRING TECHNOLOGIES, INC. FIRST AMENDED ANSWER, AFFIRMATIVE
    DEFENSES, AND COUNTERCLAIMS TO PLAINTIFFS’ FIRST AMENDED
                           COMPLAINT


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                                              Nanostring Technologies, Inc.
  Date: July 29, 2022
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        Defendant NanoString Technologies, Inc. (“NanoString”) hereby provides its Answer to

 the First Amended Complaint (“FAC”) of 10x Genomics, Inc. (“10x”) and President and Fellows

 of Harvard College (“Harvard”) (collectively “Plaintiffs”), and amended Counterclaim as against

 10x (“Counterclaim-Defendant”) as set forth below. Unless expressly admitted, NanoString

 denies each and every allegation in Plaintiffs’ FAC. To the extent the allegations in the FAC

 purport to characterize the nature or contents of the Exhibits to the FAC, NanoString lacks

 sufficient knowledge or information to form a belief as to the truth of those allegations and on that

 basis denies them. Additionally, to the extent that the headings or any other non-numbered

 statements in the FAC contain any allegations, NanoString denies each and every such allegation.

                                       NATURE OF THE ACTION

        1.      NanoString admits that the FAC purports to state a claim for patent infringement

 of United States Patent Nos. 10,227,639 (“the 639 Patent), 11,021,737 (“the 737 Patent”),

 11,293,051 (“the 051 Patent”), 11,293,052 (“the 052 Patent”), and 11,293,054 (“the 054 Patent”)

 (collectively, the “Asserted Patents”) arising under the patent laws of the United States, Title 35,

 United States Code, including 35 U.S.C. § 271. Except as so admitted, NanoString denies any

 remaining allegations in paragraph 1.

                                                  THE PARTIES

        2.      Admitted.

        3.      Denied.

        4.      NanoString lacks sufficient knowledge or information to form a belief as to the

 truth of the allegations set forth in paragraph 4 and on that basis denies them.




                                                  1
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        5.      NanoString admits that it is a Delaware Corporation with its principal place of

 business is located in Seattle, WA. Except as so admitted, NanoString denies any remaining

 allegations in paragraph 5.

        6.      Denied.

                                     JURISDICTION AND VENUE

        7.      NanoString incorporates by reference and restates its responses to paragraphs 1-6

 of the FAC as though fully set forth herein.

        8.      NanoString admits that the FAC purports to state a claim for patent infringement

 arising under the patent laws of the United States, 35 U.S.C. §§ 1, et seq., including in particular

 35 U.S.C. §§ 271. NanoString further admits that this Court has subject matter jurisdiction over

 causes of action for alleged patent infringement pursuant to 28 U.S.C. §§ 1331 and 1338(a).

        9.      NanoString admits that it is an entity organized under the laws of Delaware and that

 venue is proper in this District. Except as so admitted, NanoString denies any remaining

 allegations of paragraph 9.

        A.      Response to Allegations Regarding 10x’s Products

        10.     Denied.

        11.     Denied.

        12.     Denied.

        13.     Denied.

        14.     Denied.

        B.      Response To Allegations Regarding 10x and In Situ Technologies

        15.     Paragraph 15 of the FAC includes allegations that are vague, ambiguous, and

 incomplete, and on that basis NanoString denies the allegations of paragraph 15.
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        16.      NanoString lacks sufficient knowledge or information to form a belief as to the

 truth of the allegations set forth in paragraph 16 and on that basis denies them.

        17.      NanoString lacks sufficient knowledge or information to form a belief as to the

 truth of the allegations set forth in paragraph 17 and on that basis denies them.

        C.       Response to Allegations Regarding NanoString’s Products

        18.      NanoString admits that it announced the launch of its Technology Access Program

 for the Spatial Molecular Imager Platform in March 2021. NanoString further admits that it issued

 a press release referencing the new CosMx Spatial Molecular Imager in November 2021.

 NanoString admits that Paragraph 18 accurately quotes a portion of NanoString’s website.

 Paragraph 18 of the FAC further includes allegations that purport to characterize technical aspects

 of NanoString’s products in a manner that is vague, ambiguous, and incomplete, and on that basis

 NanoString denies the remaining allegations of paragraph 18.

        19.      Denied.

        20.      NanoString admits that it markets certain products under the trade name CosMx.

 Paragraph 20 of the FAC further includes allegations that purport to characterize technical aspects

 of NanoString’s products in a manner that is vague, ambiguous, and incomplete, and on that basis

 NanoString denies the remaining allegations of paragraph 20.

        D.       Response to Allegations Regarding the Patents In Suit

        21.      Denied.

        22.      NanoString admits that, on its face, the 639 Patent states that it was issued on March

 12, 2019 and that it lists the named inventors as Daniel Levner, Jehyuk Lee, George M. Church,

 and Michael Super. Except as so admitted, NanoString denies any remaining allegations of

 paragraph 22.
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        23.      NanoString lacks sufficient knowledge or information to form a belief as to the

 truth of the allegations set forth in paragraph 23 and on that basis denies them.

        24.      NanoString admits that, on its face, the 737 Patent states that it was issued on June

 1, 2021 and that it lists the named inventors as Daniel Levner, Jehyuk Lee, George M. Church,

 and Michael Super. Except as so admitted, NanoString denies any remaining allegations of

 paragraph 24.

        25.      NanoString lacks sufficient knowledge or information to form a belief as to the

 truth of the allegations set forth in paragraph 25 and on that basis denies them.

        26.      NanoString admits that, on its face, the 051 Patent states that it was issued on April

 5, 2022, and that it lists the named inventors as Daniel Levner, Jehyuk Lee, George M. Church,

 and Michael Super. Except as so admitted, NanoString denies any remaining allegations of

 paragraph 26.

        27.      NanoString lacks sufficient knowledge or information to form a belief as to the

 truth of the allegations set forth in paragraph 27 and on that basis denies them.

        28.      NanoString admits that, on its face, the 052 Patent states that it was issued on April

 5, 2022, and that it lists the named inventors as Daniel Levner, Jehyuk Lee, George M. Church,

 and Michael Super. Except as so admitted, NanoString denies any remaining allegations of

 paragraph 28.

        29.      NanoString lacks sufficient knowledge or information to form a belief as to the

 truth of the allegations set forth in paragraph 29 and on that basis denies them.

        30.      NanoString admits that, on its face, the 054 Patent states that it was issued on April

 5, 2022, and that it lists the named inventors as Daniel Levner, Jehyuk Lee, George M. Church,
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 and Michael Super. Except as so admitted, NanoString denies any remaining allegations of

 paragraph 30.

        31.      NanoString lacks sufficient knowledge or information to form a belief as to the

 truth of the allegations set forth in paragraph 31 and on that basis denies them.

                                                 COUNT I

        32.      NanoString incorporates and restates by reference its responses to paragraphs 1-31

 of the FAC as though fully set forth herein.

        33.      Denied.

        34.      Denied.

        35.      Denied.

                                                 COUNT II

        36.      NanoString incorporates and restates by reference its responses to paragraphs 1-35

 of the FAC as though fully set forth herein.

        37.      Denied.

        38.      Denied.

        39.      Denied.

                                                COUNT III

        40.      NanoString incorporates and restates by reference its responses to paragraphs 1-39

 of the FAC as though fully set forth herein.

        41.      Denied.

        42.      Denied.

        43.      Denied.

                                                COUNT IV
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        44.     NanoString incorporates and restates by reference its responses to paragraphs 1-43

 of the FAC as though fully set forth herein.

        45.     Denied.

        46.     Denied.

        47.     Denied.

                                                   COUNT V

        48.     NanoString incorporates and restates by reference its responses to paragraphs 1-47

 of the FAC as though fully set forth herein.

        49.     Denied.

        50.     Denied.

        51.     Denied.

                                          PRAYER FOR RELIEF

        NanoString denies that Plaintiffs are entitled to any relief whatsoever, including the relief

 stated in paragraphs A through F, from either NanoString or the Court. Plaintiffs’ prayer for relief

 should be denied in its entirety.

                                       AFFIRMATIVE DEFENSES

        NanoString hereby sets forth defenses to the FAC in order to place Plaintiffs on notice

 regarding applicable defenses. By listing any matter as a defense herein, NanoString does not

 assume the burden of proving any matter upon which Plaintiffs, or any other party, bears the burden

 of proof under applicable law.

                          FIRST DEFENSE – NON-INFRINGEMENT

        NanoString has not infringed, and is not infringing directly, indirectly, contributorily, by

 inducement, or in any other manner any valid and enforceable claim of the Asserted Patents, either

 literally or under the doctrine of equivalents.
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                                SECOND DEFENSE – INVALIDITY

         The asserted claims of the Asserted Patents are invalid for failing to comply with one or

 more of the requirements for patentability under, including, but not limited to 35 U.S.C. §§ 101,

 102, 103, 112 et seq., and the rules, regulations, and laws pertaining to those provisions, including

 the applicable provisions of Title 37 of the Code of Federal Regulations.

                                THIRD DEFENSE – 35 U.S.C. § 287

         Plaintiffs’ patent infringement claims and Prayer for Relief are limited by 35 U.S.C. § 287.

                    FOURTH DEFENSE – ADEQUATE REMEDY AT LAW

         Plaintiffs have an adequate remedy at law and the alleged injury to Plaintiffs is not

 immediate or irreparable. Accordingly, Plaintiffs are not entitled to injunctive relief even if it were

 able to establish liability.

                          FIFTH DEFENSE – NO EXCEPTIONAL CASE

         NanoString has not engaged in any conduct that would make this an exceptional case or

 that would entitle Plaintiffs to an award of attorneys’ fees.

                      SIXTH DEFENSE – FAILURE TO STATE A CLAIM

         Plaintiffs’ FAC fails to state a claim upon which relief may be granted.
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        NANOSTRING’S AMENDED COUNTERCLAIMS AGAINST PLAINTIFFS

        In further response to Plaintiffs’ FAC, Defendant and Counter-Plaintiff NanoString hereby

 asserts these Counterclaims against Plaintiff Harvard and Counter-Defendant 10x and alleges as

 follows.

                                      NATURE OF THE ACTION

        1.      In response to Plaintiffs’ allegations in the FAC, NanoString seeks a declaratory

 judgment that it has not infringed the Asserted Patents and that the Asserted Patents are invalid,

 arising under the Patent Laws of the United States 35 U.S.C. § 271 et seq. NanoString also seeks

 a finding of infringement of U.S. Patent No. 11,377,689 (“the ’689 Patent”) by Counter-Defendant

 10x.

                                             THE PARTIES

        2.      Plaintiff 10x is a Delaware corporation with its principal place of business at 6230

 Stoneridge Mall Road, Pleasanton, CA 94588.

        3.      Plaintiff Harvard is a Massachusetts educational institution according to its

 allegations in the FAC.

        4.      NanoString is a Delaware corporation with its principal place of business at 530

 Fairview Ave. N, Seattle, WA 98109.

                                     JURISDICTION AND VENUE

        5.      These Counterclaims arise under the Patent Act, and this Court has subject matter

 jurisdiction pursuant to 28 U.S.C. §§ 1331 & 1338, the Declaratory Judgement Act, 28 U.S.C. §§

 2201 & 2202, and the Patent Laws of the United States, 35 U.S.C. § 1, et seq

        6.      The Court has personal jurisdiction over 10x and Harvard because 10x is a

 Delaware corporation and both 10x and Harvard have consented to jurisdiction in this District by

 filing their FAC in this action.
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             7.       Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391 and 1400(b) because

  10x is a Delaware corporation and both 10x and Harvard have consented to this venue by filing

  their original complaint in this action.

                                                  BACKGROUND

             8.       NanoString is the pioneer in the field of spatial biology. As a respected, leading

  innovator of translational tools, NanoString has developed and brought to market breakthrough

  technologies that enable scientists across the globe to envision molecular interactions in three

  dimensions. NanoString’s GeoMx Digital Spatial Profiler (“GeoMx DSP") product is the first of

  its kind – it uniquely combines high-plex and high-throughput spatial profiling, which allows

  researchers to rapidly and quantitatively assess the biological implications of heterogeneity within

  tissues.        Since its launch, GeoMx DSP has been amply described in prestigious scientific

  publications, and studies performed using GeoMx DSP have been widely presented at industry

  conferences.

             9.       On July 5, 2022, the United States Patent and Trademark Office duly and legally

  issued the United States Patent No. 11,377,689 (“the ’689 Patent”), entitled “Chemical

  Compositions and Uses Thereof”. The named inventors of the ’689 Patent are Joseph Beechem,

  Dae Kim, Margaret Hoang, Mark Gregory, Erin Piazza, and Denise Zhou. By operation of law and

  as a result of written assignment agreements, Counterclaim-Plaintiff NanoString obtained the

  entire right, title, and interest to and in the ’689 Patent. The ’689 Patent is attached hereto. Ex. 1.

             10.      Since its issuance, NanoString has owned the ’689 Patent.

             11.      As its Abstract explains, the ’689 Patent is directed to an improved and novel way

  of spatially detecting target analytes in regions of interest. More specifically, the method claimed

  in the ’689 Patent permits the simultaneous, multiplexed detection and quantification of protein
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  and/or nucleic acid expression in a user-defined region of a tissue, cell, and/or subcellular structure

  within a cell, while maintaining the morphological context of the sample.

         12.     The claimed invention of the ’689 Patent is an improvement over the prior art

  means of detecting target analytes in a sample. Conventional immunohistochemical methods

  allow for simultaneous detection of six to ten protein targets at most.            Similarly, in situ

  hybridization methods are limited to less than ten nucleic acid targets. ’689 Patent at 16:30-32.

  While useful, these methods do not enable the simultaneous detection of a large number of genes,

  proteins, or other biologically active molecules in the same sample. Laser microdissection is able

  to capture many genes, but it is limited to a small number of locations and very expensive. The

  claimed invention of the ’689 Patent uniquely addresses and solves these problems. As such, the

  invention offers a spatial profiling method for RNA and/or protein in a tissue sample of much

  higher plex and sensitivity, providing researchers the ability to look at many biological targets at

  many locations in the same sample at the same time. As the ’689 Patent explains, the “present

  disclosure provides detection of large combinations of nucleic acid targets and/or protein targets

  from a defined region of a sample. The present disclosure provides an increase in objective

  measurements by digital quantification and increased reliability and consistency, thereby enabling

  comparison of results among multiple centers.” Id. at 16:37-43. Specifically, more than 1000

  targets can be detected, and “[t]here is no pre-defined upper limit to the number of regions of

  interest and comparisons that can be made.” Id. at 16:21-23; 40:61-64. Furthermore, the invention

  is compatible with existing, readily available sequencing technologies, making it accessible to a

  large number of users; it also allows for an economical assay design, as inexpensive and widely-

  available synthetic DNA oligonucleotides can be used instead of more expensive probes. Id. at

  Abstract; 37:50-55.
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         13.     On information and belief, 10x launched and began shipping its commercial spatial

  profiling products, Visium Spatial system (“Visium”) and related products in November, 2019.

  See     https://www.globenewswire.com/news-release/2019/11/26/1952684/0/en/10x-Genomics-

  Begins-Shipments-of-Visium-Spatial-Gene-Expression-Solution.html.

         14.     Visium and related products are all products, components, and services that are

  made, used, performed, offered to sell, sold, and/or imported in the United States by or on behalf

  of 10x in connection with 10x’s Visium. Visium and related products include, for example and

  without limitation, Visium CytAssist, Visium Spatial Gene Expression slides, Visium Spatial Gene

  Expression reagents, and analysis and visualization software, Space Ranger and Loupe Browser,

  and Certified Service Providers (CSP), that when used together allow researchers to “map the

  whole transcriptome within the tissue context” and “[c]ombine histological and gene expression

  data with easy-to-use software.”      See https://www.10xgenomics.com/products/spatial-gene-

  expression.

         15.     Visium and related products provide spatial profiling for protein and/or RNA in a

  tissue sample. 10x offers benchtop instrument, slides, reagents, and software for protein and RNA

  analysis using workflows that are compatible with standard next generation sequencing (NGS)

  applications. 10x markets Visium as designed to “discover and reveal the spatial organization of

  cell types, states, and biomarkers.”          See https://pages.10xgenomics.com/rs/446-PBO-

  704/images/10x_LIT059_ProductSheet_VisiumSpatialGeneExpression_Letter_digital.pdf.

  Furthermore, 10x states that Visium is able to “[s]patially profile RNA expression for over 18,000

  genes in human and mouse FFPE samples with high resolution across entire tissue sections,” see

  https://pages.10xgenomics.com/rs/446-PBO-

  704/images/10x_LIT000128_PS_Spatial_biology_without_limits_Spatial_gene_expression_in_F
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  FPE.pdf, offers “tissue profiling with transcriptomics and protein co-detection,” see

  https://www.10xgenomics.com/products/spatial-proteogenomics, allows users to “define regions

  of               interest,”           see             https://pages.10xgenomics.com/rs/446-PBO-

  704/images/10x_LIT088_RevA_ProductSheet_Immunofluorescence%20Capability_Letter_digit

  al.pdf, and is “[e]asy to integrate with current histological laboratory methods and tools for tissue

  analysis.” Id.

         16.       10x practices the ’689 Patent by using Visium and related products on behalf of its

  own scientists, researchers, and its Visium customers for various purposes, including without

  limitation research, development, sales, and support.

         17.       10x infringes the ’689 Patent by providing customers with Certified Service

  Providers (CSP), who offer support for complete end-to-end Visium workflows and perform

  various tasks, from sample preparation to library generation to data processing, for its customers.

  See https://www.10xgenomics.com/service-providers?query=&page=1.

         18.       10x additionally infringes the ’689 Patent by making, using, selling, offering for

  sale, importing into the United States, and supplying from the United States the patented inventions

  and/or its components, including without limitation Visium, Visium CytAssist, Visium Spatial

  Gene Expression slides, Visium Spatial Gene Expression reagents, and analysis and visualization

  software, Space Ranger and Loupe Browser, and CSP.

         19.       Through the development and subsequent making, using, selling, offering for sale,

  importing and exporting of its Visium and related products, and performing every step of the

  patented invention by using products, services, devices, systems, and/or components of the

  systems that embody the patented inventions, such as Visium and related products, 10x has and
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  continues to directly infringe, contributorily infringe, and/or induce the infringement of the ’689

  Patent.

                                                FIRST COUNT

                  (Declaration of Non-Infringement of United States Patent No. 10,227,639)

            20.   NanoString incorporates by references and restates the preceding Paragraphs 1-18

  of its Counterclaims as though fully set forth herein.

            21.   Plaintiffs have brought an action asserting the 639 Patent against NanoString.

            22.   Plaintiff Harvard has alleged that it is the legal owner by assignment of the 639

  Patent.

            23.   Plaintiff 10x has alleged that it is the exclusive licensee of the 639 Patent.

            24.   Plaintiffs have alleged and continue to allege that NanoString has infringed and

  continues to infringe one or more claims of the 639 Patent.

            25.   An actual controversy, within the meaning of 28 U.S.C. §§ 2201 and 2202, has

  arisen and exists between Plaintiffs and NanoString concerning whether NanoString has infringed

  and is infringing any valid and enforceable claim of the 639 Patent.

            26.   NanoString’s products are not infringing directly or in any other manner any valid

  and enforceable claim of the 639 Patent.

            27.   For example, as described therein, when properly construed, the 639 Patent claims

  require analytes to be immobilized in the sample for analyte identification.              In contrast,

  NanoString’s CosMx SMI does not immobilize analytes for analyte identification.

            28.   Also, as described therein, when properly construed, the 639 Patent claims require

  pre-determined subsequences to form an identifier of analyte. In contrast, to the extent they are

  used in CosMx SMI, pre-determined subsequences are not identifiers, but intermediate sequences

  for hybridization of probes.
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            29.   Furthermore, as described therein, when properly construed, the 639 Patent claims

  require a first decoder probe to be removed before the hybridization of the second decoder probe.

  In contrast, CosMx SMI do not remove any such decoder probes during hybridization.

            30.   Moreover, as described therein, when properly construed, the 639 Patent claims

  require identification of a probe for analyte identification. In contrast, NanoString’s CosMx SMI

  does not identify a probe to identify an analyte.

            31.   Besides, as described therein, when properly construed, the 639 Patent claims

  require the use of two detectable labels for analyte identification. To the extent any accused

  products do not use two detectable labels for analyte identification, they do not infringe the 639

  Patent.

            32.   By virtue of the foregoing, NanoString desires a judicial determination of its rights

  and duties with respect to any alleged infringement of the 639 Patent.

            33.   A judicial declaration is necessary and appropriate at this time so that the parties

  may proceed in accordance with their respective rights and duties determined by the Court.

                                               SECOND COUNT

                  (Declaration of Non-Infringement of United States Patent No. 11,021,737)

            34.   NanoString incorporates by references and restates the preceding Paragraphs 1-32

  of its Counterclaims as though fully set forth herein.

            35.   Plaintiffs have brought an action asserting the 737 Patent against NanoString.

            36.   Plaintiff Harvard has alleged that it is the legal owner by assignment of the 737

  Patent.

            37.   Plaintiff 10x has alleged that it is the exclusive licensee of the 737 Patent.

            38.   Plaintiffs have alleged and continue to allege that NanoString has infringed and

  continues to infringe one or more claims of the 737 Patent.
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         39.     An actual controversy, within the meaning of 28 U.S.C. §§ 2201 and 2202, has

  arisen and exists between Plaintiffs and NanoString concerning whether NanoString has infringed

  and is infringing any valid and enforceable claim of the 737 Patent.

         40.     NanoString’s products are not infringing directly or in any other manner any valid

  and enforceable claim of the 737 Patent.

         41.     For example, as described therein, when properly construed, the 737 Patent claims

  require the analytes to be in the cell or tissue sample during analyte identification. In contrast,

  NanoString’s CosMx SMI does not identify analytes in the cell or tissue sample.

         42.     Furthermore, as described therein, when properly construed, the 737 Patent claims

  require signal signatures to be associated with one or more pre-determined subsequences. In

  contrast, to the extent they are used in CosMx SMI, signal signatures are not associated with pre-

  determined subsequences, but with the hybridized decoder probes.

         43.     Moreover, as described therein, when properly construed, the 737 Patent claims

  require first decoder probe to be removed before the hybridization of the second decoder probe.

  In contrast, CosMx SMI does not remove the decoder probes during serial hybridization.

         44.     Besides, as described therein, when properly construed, the 737 Patent require a

  temporal order of signal signatures for analyte identification. To the extent any accused products

  do not use a temporal order of signal signatures for analyte identification, they do not infringe the

  639 Patent.

         45.     By virtue of the foregoing, NanoString desires a judicial determination of its rights

  and duties with respect to any alleged infringement of the 737 Patent.

         46.     A judicial declaration is necessary and appropriate at this time so that the parties

  may proceed in accordance with their respective rights and duties determined by the Court.
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                                                THIRD COUNT

                  (Declaration of Non-Infringement of United States Patent No. 11,293,051)

            47.   NanoString incorporates by references and restates the preceding Paragraphs 1-45

  of its Counterclaims as though fully set forth herein.

            48.   Plaintiffs have brought an action asserting the 051 Patent against NanoString.

            49.   Plaintiff Harvard has alleged that it is the legal owner by assignment of the 051

  Patent.

            50.   Plaintiff 10x has alleged that it is the exclusive licensee of the 051 Patent.

            51.   Plaintiffs have alleged and continue to allege that NanoString has infringed and

  continues to infringe one or more claims of the 051 Patent.

            52.   An actual controversy, within the meaning of 28 U.S.C. §§ 2201 and 2202, has

  arisen and exists between Plaintiffs and NanoString concerning whether NanoString has infringed

  and is infringing any valid and enforceable claim of the 051 Patent.

            53.   NanoString’s products are not infringing directly or in any other manner any valid

  and enforceable claim of the 051 Patent.

            54.   For example, as described therein, when properly construed, the 051 Patent claims

  require the analytes to be in the cell or tissue sample for analyte identification. In contrast,

  NanoString’s CosMx SMI does not identify analytes in the cell or tissue sample.

            55.   Also, as described therein, when properly construed, the 051 Patent claims require

  a temporal order of signal signatures to correspond to a location in a cell or tissue sample. In

  contrast, NanoString’s CosMx SMI does not use a temporal order of signal signatures

  corresponding to a location.

            56.   Furthermore, as described therein, when properly construed, the 051 Patent claims

  require first plurality of signal signatures to be removed from the cell or tissue sample before the
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  second readout cycle. In contrast, CosMx SMI does not remove the first signal signatures from

  the cell or tissue sample, but from the bound probes.

            57.   Moreover, as described therein, when properly construed, the 051 Patent claims

  require the first subset of detection reagents associated with the first set of decoding reagents and

  the second set of detection reagents associated with the second set of decoding reagents to overlap.

  To the extent any of the accused products do not let the first subset of detection reagents and the

  second subset of detection reagents to overlap, they do not infringe the 051 Patent.

            58.   By virtue of the foregoing, NanoString desires a judicial determination of its rights

  and duties with respect to any alleged infringement of the 051 Patent.

            59.   A judicial declaration is necessary and appropriate at this time so that the parties

  may proceed in accordance with their respective rights and duties determined by the Court.

                                              FOURTH COUNT

                  (Declaration of Non-Infringement of United States Patent No. 11,293,052)

            60.   NanoString incorporates by references and restates the preceding Paragraphs 1-58

  of its Counterclaims as though fully set forth herein.

            61.   Plaintiffs have brought an action asserting the 052 Patent against NanoString.

            62.   Plaintiff Harvard has alleged that it is the legal owner by assignment of the 052

  Patent.

            63.   Plaintiff 10x has alleged that it is the exclusive licensee of the 052 Patent.

            64.   Plaintiffs have alleged and continue to allege that NanoString has infringed and

  continues to infringe one or more claims of the 052 Patent.

            65.   An actual controversy, within the meaning of 28 U.S.C. §§ 2201 and 2202, has

  arisen and exists between Plaintiffs and NanoString concerning whether NanoString has infringed

  and is infringing any valid and enforceable claim of the 052 Patent.
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            66.   NanoString’s products are not infringing directly or in any other manner any valid

  and enforceable claim of the 052 Patent.

            67.   For example, as described therein, when properly construed, the 052 Patent claims

  require the analyte to be at a location in a biological sample during identification. In contrast,

  NanoString’s CosMx SMI does not identify the analyte at the location in a biological sample.

            68.   Furthermore, as described therein, when properly construed, the 052 Patent claims

  require the first optical signal to be removed from the location in the biological sample before the

  second readout cycle. In contrast, CosMx SMI does not remove the first optical signal from the

  sample, but from the bound probes.

            69.   Moreover, as described therein, when properly construed, the 052 Patent claims

  require the detection of multiple signal signatures and the absence thereof during analyte

  identification. To the extent any of the accused products do not detect multiple signal signatures

  for analyte detection, they do not infringe the 052 Patent.

            70.   By virtue of the foregoing, NanoString desires a judicial determination of its rights

  and duties with respect to any alleged infringement of the 052 Patent.

            71.   A judicial declaration is necessary and appropriate at this time so that the parties

  may proceed in accordance with their respective rights and duties determined by the Court.

                                               FIFTH COUNT

                  (Declaration of Non-Infringement of United States Patent No. 11,293,054)

            72.   NanoString incorporates by references and restates the preceding Paragraphs 1-70

  of its Counterclaims as though fully set forth herein.

            73.   Plaintiffs have brought an action asserting the 054 Patent against NanoString.

            74.   Plaintiff Harvard has alleged that it is the legal owner by assignment of the 054

  Patent.
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         75.     Plaintiff 10x has alleged that it is the exclusive licensee of the 054 Patent.

         76.     Plaintiffs have alleged and continue to allege that NanoString has infringed and

  continues to infringe one or more claims of the 054 Patent.

         77.     An actual controversy, within the meaning of 28 U.S.C. §§ 2201 and 2202, has

  arisen and exists between Plaintiffs and NanoString concerning whether NanoString has infringed

  and is infringing any valid and enforceable claim of the 054 Patent.

         78.     NanoString’s products are not infringing directly or in any other manner any valid

  and enforceable claim of the 054 Patent.

         79.     For example, as described therein, when properly construed, the 054 Patent claims

  require generation of signal signatures in a cell or tissue sample. In contrast, NanoString’s CosMx

  SMI does not generate a signal signatures in a cell or tissue sample.

         80.     Furthermore, as described therein, when properly construed, the 054 Patent claims

  require a nucleic acid label coupled to a probe to permit the said probe to bind to an analyte. In

  contrast, to the extent it is used in NanoString’s CosMx SMI, the nucleic acid label does not permit

  the probe to bind to an analyte. Rather, the probe is itself designed to target an analyte.

         81.     Moreover, as described therein, when properly construed, the 054 Patent claims

  require first decoder probe to be removed before the hybridization of the second decoder probe.

  In contrast, CosMx SMI do not remove the decoder probes during serial hybridization.

         82.     By virtue of the foregoing, NanoString desires a judicial determination of its rights

  and duties with respect to any alleged infringement of the 054 Patent.

         83.     A judicial declaration is necessary and appropriate at this time so that the parties

  may proceed in accordance with their respective rights and duties determined by the Court.

                                               SIXTH COUNT
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                  (Declaration of Invalidity of U.S. Patent No. 10,227,639)

            84.   NanoString incorporates by references and restates the preceding Paragraphs 1-82

  of its Counterclaims as though fully set forth herein.

            85.   Plaintiffs have brought an action asserting the 639 Patent against NanoString.

            86.   Plaintiff Harvard has alleged that it is the legal owner by assignment of the 639

  Patent.

            87.   Plaintiff 10x has alleged that it is the exclusive license of the 639 Patent.

            88.   Plaintiffs have alleged and continues to allege that NanoString has infringed and

  continues to infringe one or more claims of the 639 Patent.

            89.   An actual controversy, within the meaning of 28 U.S.C. §§ 2201 and 2202, has

  arisen and exists between Plaintiffs and NanoString concerning whether NanoString has infringed

  and is infringing any valid and enforceable claim of the 639 Patent.

            90.   The claims of the 639 Patent are invalid for failing to comply with the provisions

  of the Patent Laws, Title 35 of the United States Code, including without limitation one or more

  of 35 U.S.C. §§ 101, 102, 103, 112, and/or 116, and/or the rules, regulations and law pertaining

  thereto.

            91.   For example, the asserted claims of the Asserted Patents are invalid under 35 U.S.C.

  §§ 102 and/or 103 at least in view of U.S. Patent No. 10,961,566 (“Chee”), alone or in combination

  with additional prior art, including U.S. Patent App. Pub. No. 2005/0064435 (“Su”), Göransson et

  al., A single molecule array for digital targeted molecular analyses, 37 Nucleic Acids Research e7

  (2008) (“Göransson”), or U.S. Patent No. 8,741,566 (“Winther”), which disclose and/or render

  obvious all elements of the claims of the Asserted Patents.

            92.   All claims of the Asserted Patents are further invalid for failure to satisfy the

  requirements of 35 U.S.C. § 112. For example, the claim term “temporal order”, read in light of
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  the specification and the prosecution history, fails to inform, with reasonable certainty, those

  skilled in the art of the boundaries of protected subject matter, and therefore does not meet the

  definiteness standard.

            93.    Moreover, the specifications of the Asserted Patents fail to contain a written

  description of the claims or sufficient information to enable a person of ordinary skill in the art to

  practice the full scope of the claims. For example, there is a lack of an adequate written description

  and a lack of enablement for signal detection in the cell or tissue sample.

            94.    By virtue of the foregoing, NanoString desires a judicial determination of its rights

  and duties with respect to any alleged infringement of the 639 Patent.

            95.    A judicial declaration is necessary and appropriate at this time so that the parties

  may proceed in accordance with their respective rights and duties determined by the Court.

                                               SEVENTH COUNT

                   (Declaration of Invalidity of U.S. Patent No. 11,021,737)

            96.    NanoString incorporates by references and restates the preceding Paragraphs 1-94

  of its Counterclaims as though fully set forth herein.

            97.    Plaintiffs have brought an action asserting the 737 Patent against NanoString.

            98.    Plaintiff Harvard has alleged that it is the legal owner by assignment of the 737

  Patent.

            99.    Plaintiff 10x has alleged that it is the exclusive license of the 737 Patent.

            100.   Plaintiffs have alleged and continues to allege that NanoString has infringed and

  continues to infringe one or more claims of the 737 Patent.

            101.   An actual controversy, within the meaning of 28 U.S.C. §§ 2201 and 2202, has

  arisen and exists between Plaintiffs and NanoString concerning whether NanoString has infringed

  and is infringing any valid and enforceable claim of the 737 Patent.
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         102.    The claims of the 737 Patent are invalid for failing to comply with the provisions

  of the Patent Laws, Title 35 of the United States Code, including without limitation one or more

  of 35 U.S.C. §§ 101, 102, 103, 112, and/or 116, and/or the rules, regulations and law pertaining

  thereto.

         103.    For example, the asserted claims of the Asserted Patents are invalid under 35 U.S.C.

  §§ 102 and/or 103 at least in view of U.S. Patent No. 10,961,566 (“Chee”), alone or in combination

  with additional prior art, including U.S. Patent App. Pub. No. 2005/0064435 (“Su”), Göransson et

  al., A single molecule array for digital targeted molecular analyses, 37 Nucleic Acids Research e7

  (2008) (“Göransson”), or U.S. Patent No. 8,741,566 (“Winther”), which disclose and/or render

  obvious all elements of the claims of the Asserted Patents.

         104.    All claims of the Asserted Patents are further invalid for failure to satisfy the

  requirements of 35 U.S.C. § 112. For example, the claim term “temporal order”, read in light of

  the specification and the prosecution history, fails to inform, with reasonable certainty, those

  skilled in the art of the boundaries of protected subject matter, and therefore does not meet the

  definiteness standard.

         105.    Moreover, the specifications of the Asserted Patents fail to contain a written

  description of the claims or sufficient information to enable a person of ordinary skill in the art to

  practice the full scope of the claims. For example, there is a lack of an adequate written description

  and a lack of enablement for generating a three dimensional matrix of nucleic acids in situ in a cell

  or tissue sample and amplifying, detecting, and sequencing such nucleic acids within the matrix;

  there is also a lack of an adequate written description and a lack of enablement for analyte detection

  while allowing spatial movement of an analyte in a sample.
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            106.   By virtue of the foregoing, NanoString desires a judicial determination of its rights

  and duties with respect to any alleged infringement of the 737 Patent.

            107.   A judicial declaration is necessary and appropriate at this time so that the parties

  may proceed in accordance with their respective rights and duties determined by the Court.

                                                EIGHTH COUNT

                   (Declaration of Invalidity of U.S. Patent No. 11,293,051)

            108.   NanoString incorporates by references and restates the preceding Paragraphs 1-106

  of its Counterclaims as though fully set forth herein.

            109.   Plaintiffs have brought an action asserting the 051 Patent against NanoString.

            110.   Plaintiff Harvard has alleged that it is the legal owner by assignment of the 051

  Patent.

            111.   Plaintiff 10x has alleged that it is the exclusive license of the 051 Patent.

            112.   Plaintiffs have alleged and continues to allege that NanoString has infringed and

  continues to infringe one or more claims of the 051 Patent.

            113.   An actual controversy, within the meaning of 28 U.S.C. §§ 2201 and 2202, has

  arisen and exists between Plaintiffs and NanoString concerning whether NanoString has infringed

  and is infringing any valid and enforceable claim of the 051 Patent.

            114.   The claims of the 051 Patent are invalid for failing to comply with the provisions

  of the Patent Laws, Title 35 of the United States Code, including without limitation one or more

  of 35 U.S.C. §§ 101, 102, 103, 112, and/or 116, and/or the rules, regulations and law pertaining

  thereto.

            115.   For example, the asserted claims of the Asserted Patents are invalid under 35 U.S.C.

  §§ 102 and/or 103 at least in view of U.S. Patent No. 10,961,566 (“Chee”), alone or in combination

  with additional prior art, including U.S. Patent App. Pub. No. 2005/0064435 (“Su”), Göransson et
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  al., A single molecule array for digital targeted molecular analyses, 37 Nucleic Acids Research e7

  (2008) (“Göransson”), or U.S. Patent No. 8,741,566 (“Winther”), which disclose and/or render

  obvious all elements of the claims of the Asserted Patents.

            116.   Moreover, the specifications of the Asserted Patents fail to contain a written

  description of the claims or sufficient information to enable a person of ordinary skill in the art to

  practice the full scope of the claims. For example, there is a lack of an adequate written description

  and a lack of enablement for generating a three dimensional matrix of nucleic acids in situ in a cell

  or tissue sample and amplifying, detecting, and sequencing such nucleic acids within the matrix;

  there is also a lack of an adequate written description and a lack of enablement for analyte detection

  while allowing spatial movement of an analyte in a sample.

            117.   By virtue of the foregoing, NanoString desires a judicial determination of its rights

  and duties with respect to any alleged infringement of the 051 Patent.

            118.   A judicial declaration is necessary and appropriate at this time so that the parties

  may proceed in accordance with their respective rights and duties determined by the Court.

                                                 NINTH COUNT

                   (Declaration of Invalidity of U.S. Patent No. 11,293,052)

            119.   NanoString incorporates by references and restates the preceding Paragraphs 1-117

  of its Counterclaims as though fully set forth herein.

            120.   Plaintiffs have brought an action asserting the 052 Patent against NanoString.

            121.   Plaintiff Harvard has alleged that it is the legal owner by assignment of the 052

  Patent.

            122.   Plaintiff 10x has alleged that it is the exclusive license of the 052 Patent.

            123.   Plaintiffs have alleged and continues to allege that NanoString has infringed and

  continues to infringe one or more claims of the 052 Patent.
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          124.    An actual controversy, within the meaning of 28 U.S.C. §§ 2201 and 2202, has

  arisen and exists between Plaintiffs and NanoString concerning whether NanoString has infringed

  and is infringing any valid and enforceable claim of the 052 Patent.

          125.    The claims of the 052 Patent are invalid for failing to comply with the provisions

  of the Patent Laws, Title 35 of the United States Code, including without limitation one or more

  of 35 U.S.C. §§ 101, 102, 103, 112, and/or 116, and/or the rules, regulations and law pertaining

  thereto.

          126.    For example, the asserted claims of the Asserted Patents are invalid under 35 U.S.C.

  §§ 102 and/or 103 at least in view of U.S. Patent No. 10,961,566 (“Chee”), alone or in combination

  with additional prior art, including U.S. Patent App. Pub. No. 2005/0064435 (“Su”), Göransson et

  al., A single molecule array for digital targeted molecular analyses, 37 Nucleic Acids Research e7

  (2008) (“Göransson”), or U.S. Patent No. 8,741,566 (“Winther”), which disclose and/or render

  obvious all elements of the claims of the Asserted Patents.

          127.    All claims of the Asserted Patents are further invalid for failure to satisfy the

  requirements of 35 U.S.C. § 112. For example, the claim terms “signal signature” and “temporal

  order”, read in light of the specification and the prosecution history, fails to inform, with reasonable

  certainty, those skilled in the art of the boundaries of protected subject matter, and therefore does

  not meet the definiteness standard.

          128.    Moreover, the specifications of the Asserted Patents fail to contain a written

  description of the claims or sufficient information to enable a person of ordinary skill in the art to

  practice the full scope of the claims. For example, there is a lack of an adequate written description

  and a lack of enablement for analyte identification at a location in a biological sample.
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            129.   By virtue of the foregoing, NanoString desires a judicial determination of its rights

  and duties with respect to any alleged infringement of the 052 Patent.

            130.   A judicial declaration is necessary and appropriate at this time so that the parties

  may proceed in accordance with their respective rights and duties determined by the Court.

                                                 TENTH COUNT

                   (Declaration of Invalidity of U.S. Patent No. 11,293,054)

            131.   NanoString incorporates by references and restates the preceding Paragraphs 1-129

  of its Counterclaims as though fully set forth herein.

            132.   Plaintiffs have brought an action asserting the 054 Patent against NanoString.

            133.   Plaintiff Harvard has alleged that it is the legal owner by assignment of the 054

  Patent.

            134.   Plaintiff 10x has alleged that it is the exclusive license of the 054 Patent.

            135.   Plaintiffs have alleged and continues to allege that NanoString has infringed and

  continues to infringe one or more claims of the 054 Patent.

            136.   An actual controversy, within the meaning of 28 U.S.C. §§ 2201 and 2202, has

  arisen and exists between Plaintiffs and NanoString concerning whether NanoString has infringed

  and is infringing any valid and enforceable claim of the 054 Patent.

            137.   The claims of the 054 Patent are invalid for failing to comply with the provisions

  of the Patent Laws, Title 35 of the United States Code, including without limitation one or more

  of 35 U.S.C. §§ 101, 102, 103, 112, and/or 116, and/or the rules, regulations and law pertaining

  thereto.

            138.   For example, the asserted claims of the Asserted Patents are invalid under 35 U.S.C.

  §§ 102 and/or 103 at least in view of U.S. Patent No. 10,961,566 (“Chee”), alone or in combination

  with additional prior art, including U.S. Patent App. Pub. No. 2005/0064435 (“Su”), Göransson et
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  al., A single molecule array for digital targeted molecular analyses, 37 Nucleic Acids Research e7

  (2008) (“Göransson”), or U.S. Patent No. 8,741,566 (“Winther”), which disclose and/or render

  obvious all elements of the claims of the Asserted Patents.

         139.    All claims of the Asserted Patents are further invalid for failure to satisfy the

  requirements of 35 U.S.C. § 112. For example, the claim term “temporal order”, read in light of

  the specification and the prosecution history, fails to inform, with reasonable certainty, those

  skilled in the art of the boundaries of protected subject matter, and therefore does not meet the

  definiteness standard.

         140.    Moreover, the specifications of the Asserted Patents fail to contain a written

  description of the claims or sufficient information to enable a person of ordinary skill in the art to

  practice the full scope of the claims. For example, there is a lack of an adequate written description

  and a lack of enablement for signal detection in the cell or tissue sample.

         141.    By virtue of the foregoing, NanoString desires a judicial determination of its rights

  and duties with respect to any alleged infringement of the 054 Patent.

         142.    A judicial declaration is necessary and appropriate at this time so that the parties

  may proceed in accordance with their respective rights and duties determined by the Court.

                                            ELEVENTH COUNT

                 (Infringement of United States Patent No. 11,377,689 by 10x)

         143.    NanoString incorporates by references and restates the preceding Paragraphs 141

  of its Counterclaims as though fully set forth herein.

         144.    10x has infringed and continues to directly infringe one or more claims of the ’689

  Patent, including without limitation claims 1-30, pursuant to 35 U.S.C. § 271(a), literally or under

  the doctrine of equivalents, by making and/or using, offering to sell, selling, and/or importing into

  the United States without authority all products, components, and services in connection with
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  10x’s Visium, including without limitation Visium CytAssist, Visium Spatial Gene Expression

  slides, Visium Spatial Gene Expression reagents, and analysis and visualization software, Space

  Ranger and Loupe Browser, CSP, and other products and services sold by 10x for use in 10x’s

  Visium workflows.

             145.   10x has had knowledge of the ’689 Patent since at least July 11, 2022, the date

  when 10x was notified of NanoString’s intent to add a counterclaim of infringement of U.S. Patent

  11,377,689 to the 22-cv-261 litigation.       Furthermore, 10x received NanoString’s proposed

  amended counterclaims, along with detailed infringement claim chart applying the ’689 Patent to

  10x’s products, on July 19, 2022. On information and belief, 10x’s outside counsel subsequently

  reviewed NanoString’s amended pleadings with 10x’s internal legal personnel, and 10x has

  affirmatively decided to continue infringing. At the very least, service of NanoString’s proposed

  amended counterclaim on July 19, 2022 provided 10x with not just notice of the ’689 Patent, but

  also 10x’s ongoing infringement of the ’689 patent. 10x’s infringement since this time has been

  willful.

             146.   10x has actively induced and continues to induce the infringement of one or more

  claims of the ’689 Patent, including without limitation claims 1-30, pursuant to 35 U.S.C. § 271(b)

  through a range of activities, including without limitation making and selling Visium and related

  products; controlling the design, manufacture, and supply of materials, software, and instruments

  to be used with Visium and related products; substantially marketing Visium and related products;

  intentionally instructing or otherwise encouraging others, including 10x’s customers and end users,

  to use the infringing products in the United States in the manner that infringes one or more claims

  of the ’689 Patent; creating distribution channels for the infringing products; and supporting the

  sale of those products in the United States. As an example, 10x implemented Certified Service
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  Provider (CSP) program to promote, service, and sell the infringing products domestically. As a

  further example, 10x distributes Visium and related products promotional and marketing materials

  and Visium and related products User Manuals in websites directed to the United States Market.

         147.    10x has contributed and continues to contribute to the infringement of one or more

  claims of the ’689 Patent, including without limitation claims 1-30, pursuant to 35 U.S.C. § 271(c)

  through a range of activities, including without limitation, without authority, importing into the

  United States materials and instruments that are material components of the claimed inventions of

  the ’689 Patent; without authority, importing into the United States materials and instruments for

  practicing the patented method of the ’689 Patent; selling and/or offering for sale Visium and

  related products, or has others perform such acts on its behalf; and instructing users of 10x’s

  Visium workflows to directly infringe one or more claims of the ’689 Patent. Visium and related

  products are specifically designed to be used in an infringing manner, where no non-infringing use

  of Visium and related products has been described in 10x’s instructional materials. Therefore,

  10x’s Visium and related products constitute a material part of the claimed invention of the ’689

  Patent, and are not a staple article or commodity of commerce suitable for substantial non-

  infringing use. As an example, 10x supplies in the United States products specifically designed

  for use in practicing one or more claims of the ’689 Patent, including for example the Visium

  Spatial Gene Expression slides, Visium Spatial Gene Expression reagents, Space Ranger, and

  Loupe Browser and threaten to sell those products throughout the United States.

         148.    To demonstrate how 10x infringes one or more claims of the ’689 Patent, attached

  is a preliminary and exemplary infringement claim chart. Ex. 2. This chart is not intended to limit

  NanoString’s right to modify this chart or any other claim chart or allege that other activities of

  10x infringes the identified claims or any other claims of the ’689 Patent or any other patents. This
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  chart is hereby incorporated by reference in its entirety. Each claim element that is mapped to

  Visium and related products shall be considered an allegation within the meaning of the Federal

  Rules of Civil Procedure and therefore a response to each allegation is required.

          149.      NanoString has suffered and continues to suffer damages as a result of 10x’s

  infringement of the ’689 Patent.

          150.      Unless 10x is enjoined from infringing the ’689 Patent, 10x’s efforts to design,

  develop, market, offer to sell, and sell Visium and related products will cause NanoString to suffer

  irreparable injury for which damages are an inadequate remedy.

                                        REQUEST FOR RELIEF

          WHEREFORE, having fully answered Plaintiffs’ FAC and having asserted Affirmative

  Defenses, and Counterclaims, NanoString respectfully requests the following relief:

          A.        That this Court enter judgment on Plaintiffs’ FAC and NanoString’s Counterclaims

  in favor of NanoString, against Plaintiffs, with Plaintiffs being awarded no relief of any kind in

  this action;

          B.        That this Court enter judgment and/or declarations that NanoString does not

  infringe the Asserted Patents and that the Asserted Patents are invalid;

          C.        That this Court enter judgement that Counterclaim-Defendant 10x has infringed

  and continues to infringe one or more claims of the ’689 Patent, either literally or under the doctrine

  of equivalents;

          D.        That this Court enter a declaration that the ’689 Patent is valid and enforceable;

          E.        That this Court enter an order preliminarily and permanently enjoining

  Counterclaims-Defendant 10x, and its officers, directors, agents, servants, affiliates, employees,

  divisions, branches, subsidiaries, parents, assigns and successors in interest, and all others acting

  in active concert therewith, including related individuals and entities, customers, representatives,
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  distributors, and dealers, from further infringement of the ’689 Patent. In the alternative, if the

  Court finds that an injunction is not warranted, Counterclaim-Plaintiff NanoString requests an

  award of post-judgement royalty to compensate for future infringement;

            F.     An award of all monetary relief adequate to compensate for damages resulting from

  10x’s infringement, including lost profits but in no event less than a reasonable royalty under 35

  U.S.C. § 284 for 10x’s infringement, including all pre-judgement and post-judgement interest at

  the maximum rate allowed by law;

            G.     That this Court enter a judgment declaring this case exceptional under 35 U.S.C. §

  285 and awarding NanoString its attorneys’ fees and prejudgment and post-judgment interest;H.

            That this Court award NanoString all of its costs of this action; and

            I.     That this Court grant such other and further relief as the Court shall deem just and

  proper.
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                                            Respectfully submitted,
                                            FARNAN LLP

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   Date: July 29, 2022




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                               Exhibit 2
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                                Exemplary Infringement of U.S. Patent No. 11,377,689 (“the ’689 Patent”)

                                              by use of 10X’s Visium Spatial system (“Visium”)

    the ’689 Patent                 10X’s Visium Spatial System

    1. A method for spatially       To the extent that the preamble is found to be limiting, 10X’s Visium Spatial System (“Visium”) and
    detecting at least one target   related products are designed and marketed such that they will be used, and are in fact used, to
    analyte in a first location     spatially detect at least one target analyte in a first location and a second location of a tissue sample.
    and a second location of a
    tissue sample comprising:       Visium and related products are all products, components, and services that are made, used,
                                    performed, offered to sell, sold, and/or imported in the United States by or on behalf of 10x in
                                    connection with 10x’s Visium. Visium and related products include, for example and without
                                    limitation, Visium CytAssist, Visium Spatial Gene Expression slides, Visium Spatial Gene Expression
                                    reagents, and analysis and visualization software, Space Ranger and Loupe Browser, and Certified
                                    Service Providers (CSP), that are sold by 10X for use in 10X’s Visium for spatially detecting target
                                    biological molecules via sample imaging and delivery of probes.1



1
  Without limitation as to the named products, components, and services, these include but are not limited to: Dual Index Kit TS Set A
(1000251); Dual Index Kit TT Set A (1000215); Human Gene Signature Panel (1000258); Human Immunology Panel (1000259);
Human Neuroscience Panel (1000277); Human Pan-Cancer Panel (1000260); Library Amplification Kit (1000249); Target
Hybridization Kit (1000248); Visium Accessory Kit (1000194); Visium CytAssist Calibration Kit (1000458); Visium CytAssist
Reagent Accessory Kit (1000499); Visium CytAssist Spatial Gene Expression for FFPE, Mouse Transcriptome, 6.5mm (1000522);
Visium CytAssist Spatial Gene Expression for FFPE, Mouse Transcriptome, 11mm (1000523); Visium CytAssist Spatial Gene
Expression for FFPE, Human Transcriptome, 6.5mm (1000520); Visium CytAssist Spatial Gene Expression for FFPE, Human
Transcriptome, 11mm (1000521); Visium CytAssist Training Kit (1000459); Visium Spatial for FFPE Gene Expression Kit, Human
Transcriptome (1000338); Visium Spatial for FFPE Gene Expression Kit, Mouse Transcriptome (1000339); Visium Spatial for FFPE
Gene Expression Starter Kit, Human Transcriptome (1000334); Visium Spatial for FFPE Gene Expression Starter Kit, Mouse
Transcriptome (1000335); Visium Spatial Gene Expression Slide & Reagents Kit (1000187); Visium Spatial Gene Expression Starter
Kit (1000200); Visium Spatial Tissue Optimization Slide & Reagents Kit (1000193); Visium Tissue Section Test Slides, 4 Slide Pack
(1000347); Custom Panel Designer; Loupe Browser; Space Ranger; Certified Service Providers.
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the ’689 Patent          10X’s Visium Spatial System

                         “Visium Spatial Gene Expression for FFPE assays RNA levels by using probes against the whole
                         transcriptome in intact formalin fixed paraffin embedded (FFPE) tissue sections and maps the
                         location(s) where gene activity is occurring.”
                         CG000407_VisiumSpatialGeneExpressionforFFPE_UserGuide_RevD at 18 (emphasis added).

                                Visium Spatial Gene Expression for FFPE samples is a groundbreaking solution that
                                complements traditional pathologist-led analysis. Spatially profile RNA expression for
                                over 18,000 genes in human and mouse FFPE samples with high resolution across entire
                                tissue sections. With whole transcriptome analysis and our specialized chemistry for
                                FFPE tissue profiling, you can detect any gene in any pathway, resolve tissue
                                heterogeneity, and reveal the spatial organization of cell types and cell states within a
                                morphological context. Combine with immunofluorescence (IF) for simultaneous
                                visualization of protein and gene expression.




                         10x_LIT000128_PS_Spatial_biology_without_limits_Spatial_gene_expression_in_FFPE at 1
                         (emphasis added).




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the ’689 Patent          10X’s Visium Spatial System

                                An FFPE tissue section is placed onto a Visium gene expression slide and imaged for
                                histological purposes (either H&E for morphological context or IF for protein co-
                                detection). Each Capture Area on a Visium for FFPE slide has an array containing
                                capture probes that bind to RNA. The probe pairs are extended to incorporate
                                complements of the spatial barcodes, and sequencing libraries are prepared. The libraries
                                are then sequenced and data visualized to determine which genes are expressed, and
                                where, as well as in what quantity.




                         Id. at 2 (emphasis added).

                         To the extent Visium and related products are argued by Counterclaim-Defendant or found by the
                         Court not to literally infringe certain limitations of the ’689 Patent, infringement of such limitations
                         can be found under the doctrine of equivalents.




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the ’689 Patent               10X’s Visium Spatial System

a) contacting the tissue      10X’s Visium performs contacting the tissue sample with a plurality of nucleic acid probes (probe
sample with a plurality of    pairs), wherein each of the nucleic acid probes comprise a target binding domain (LHS and RHS) that
nucleic acid probes,          binds to the at least one target analyte, wherein the tissue sample is treated (deparaffinized, stained,
wherein each of the nucleic   and decrosslinked) to facilitate binding of the nucleic acid probes to the target analyte.
acid probes comprise a
target binding domain that    “The human or mouse whole transcriptome probe panel, consisting of a pair of specific probes for
binds to the at least one     each targeted gene, is added to the deparaffinized, stained, and decrosslinked tissues. Together, probe
target analyte, wherein the   pairs hybridize to their complementary target RNA.”
tissue sample is treated to   CG000407_VisiumSpatialGeneExpressionforFFPE_UserGuide_RevD at 19 (emphasis added).
facilitate binding of the
nucleic acid probes to the
target analyte;




                              “After hybridization, a ligase is added to seal the junction between the probe pairs that have
                              hybridized to RNA, forming a ligation product.” Id.




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the ’689 Patent                 10X’s Visium Spatial System




                                To the extent Visium and related products are argued by Counterclaim-Defendant or found by the
                                Court not to literally infringe certain limitations of the ’689 Patent, infringement of such limitations
                                can be found under the doctrine of equivalents.

b) collecting the nucleic       10X’s Visium performs collecting the nucleic acid probes, or portions thereof, bound to the at least
acid probes, or portions        one target analyte in a first location of the tissue sample under conditions that release the nucleic acid
thereof, bound to the at        probes, or portions thereof, from the first location of the tissue sample.
least one target analyte in a
first location of the tissue    “The single stranded ligation products are released from the tissue upon RNase treatment and
sample under conditions         permeabilization, and then captured on the Visium slides.”
that release the nucleic
acid probes, or portions
thereof, from the first
location of the tissue
sample;




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                                Id. at 20.

                                To the extent Visium and related products are argued by Counterclaim-Defendant or found by the
                                Court not to literally infringe certain limitations of the ’689 Patent, infringement of such limitations
                                can be found under the doctrine of equivalents.

c) collecting the nucleic       10X’s Visium performs collecting the nucleic acid probes, or portions thereof, bound to the at least
acid probes, or portions        one target analyte in a second location of the tissue sample under conditions that release the nucleic
thereof, bound to the at        acid probes, or portions thereof, from the second location of the tissue sample.
least one target analyte in a
second location of the          Reagents are added to and reactions are performed on at least 5000 distinct locations (gene expression
tissue sample under             spots) simultaneously:
conditions that release the
nucleic acid probes, or         “Always cover the tissue section completely when adding reagents to the well. A gentle tap may help
portions thereof, from the      spread the reagent more evenly.” Id. at 29.




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the ’689 Patent              10X’s Visium Spatial System

second location of the       “Visium slides include 4 Capture Areas (6.5 x 6.5 mm), each with ~5,000 unique gene expression
tissue sample;               spots. Each gene expression spot includes primers with a unique Spatial Barcode . . . . The tissue
                             sections are always placed on the active surface of the Capture Areas.”




                             Id. at 23.

                             To the extent Visium and related products are argued by Counterclaim-Defendant or found by the
                             Court not to literally infringe certain limitations of the ’689 Patent, infringement of such limitations
                             can be found under the doctrine of equivalents.

d) performing an extension   10X’s Visium performs an extension reaction that incorporates at least one nucleic acid sequence
reaction that incorporates   (primer sequence containing spatial barcode) that identifies the first location of the tissue sample into
at least one nucleic acid    each of the nucleic acid probes, or portions thereof, collected in step (b), thereby forming a first



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the ’689 Patent                 10X’s Visium Spatial System

sequence that identifies the    plurality of extension products (spatially barcoded, ligated probe products) that comprise the nucleic
first location of the tissue    acid probes, or portions thereof, collected in step (b) and the at least one nucleic acid sequence (spatial
sample into each of the         barcode) that identifies the first location of the tissue sample. For example:
nucleic acid probes, or
portions thereof, collected     “Once ligation products are captured, probes are extended by the addition of UMI, Spatial Barcode
in step (b), thereby            and partial Read 1. This generates spatially barcoded, ligated probe products, which can then be
forming a first plurality of    carried forward for library preparation.”
extension products that
comprise the nucleic acid
probes, or portions thereof,
collected in step (b) and
the at least one nucleic
acid sequence that
identifies the first location
of the tissue sample;




                                Id. at 20.

                                To the extent Visium and related products are argued by Counterclaim-Defendant or found by the
                                Court not to literally infringe certain limitations of the ’689 Patent, infringement of such limitations
                                can be found under the doctrine of equivalents.

e) performing an extension      See Supra infringement analysis for Claims 1(c), 1(d).
reaction that incorporates
at least one nucleic acid       To the extent Visium and related products are argued by Counterclaim-Defendant or found by the
sequence that identifies the    Court not to literally infringe certain limitations of the ’689 Patent, infringement of such limitations
second location of the          can be found under the doctrine of equivalents.



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the ’689 Patent                10X’s Visium Spatial System

tissue sample into each of
the nucleic acid probes, or
portions thereof, collected
in step (c), thereby forming
a second plurality
extension products that
comprise the nucleic acid
probes, or portions thereof,
collected in step (c) and
the at least one nucleic
acid sequence that
identifies the second
location of the tissue
sample; and
f) identifying the first       10X’s Visium performs identifying the first plurality of extension products and the second plurality of
plurality of extension         extension products by sequencing the first plurality of extension products and the second plurality of
products and the second        extension products, thereby spatially detecting the at least one target analyte in the first location of the
plurality of extension         tissue smaple and the second location of the tissue sample.
products by sequencing the
first plurality of extension   See Supra infringement analysis for Claim 1(c).
products and the second
plurality of extension         Sequence of the extension products is determined by the application of Illumina-specific adapters
products, thereby spatially    followed by amplification for assessment by a sequencer: “TruSeq Read 1 and Small RNA Read 2
detecting the at least one     (Read 2S) are standard Illumina sequencing primer sites used in paired-end sequencing. TruSeq Read
target analyte in the first    1 is used to sequence 16 bp Spatial Barcode and 12 bp UMI. Small RNA Read 2 (Read 2S) is used to
location of the tissue         sequence the Ligated Probe Insert.” Id. at 60.
smaple and the second
location of the tissue
sample.




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the ’689 Patent               10X’s Visium Spatial System

                              To the extent Visium and related products are argued by Counterclaim-Defendant or found by the
                              Court not to literally infringe certain limitations of the ’689 Patent, infringement of such limitations
                              can be found under the doctrine of equivalents.
2. The method of claim 1,     10X’s Visium includes a formalin-fixed paraffin-embedded (FFPE) tissue sample.
wherein the tissue sample
is a formalin-fixed           “Visium Spatial Gene Expression for FFPE assays RNA levels by using probes against the whole
paraffin-embedded (FFPE)      transcriptome in intact formalin fixed paraffin embedded (FFPE) tissue sections and maps the
tissue sample.                location(s) where gene activity is occurring.” Id. at 18.

                              To the extent Visium and related products are argued by Counterclaim-Defendant or found by the
                              Court not to literally infringe certain limitations of the ’689 Patent, infringement of such limitations
                              can be found under the doctrine of equivalents.
3. The method of claim 1,     10X’s Visium includes a tissue sample that is immobilized onto a microscope slide.
wherein the tissue sample
is immobilized onto a         “Tissue sections placed on these Capture Areas are fixed and stained . . . .”
microscope slide.             CG000239_Visium_Spatial_Gene_Expression_User_Guide_Rev_F at 16 (emphasis added).

                              “Immediately place a finger on the backside of the Capture Area on the slide for a few seconds to
                              allow the section to adhere to the slide.” TissuePreparationGuide at 15 (emphasis added).

                              To the extent Visium and related products are argued by Counterclaim-Defendant or found by the
                              Court not to literally infringe certain limitations of the ’689 Patent, infringement of such limitations
                              can be found under the doctrine of equivalents.

4. The method of claim 6,     10X’s Visium includes a microscope slide comprises a plurality of primers immobilized on the
wherein the microscope        microscope slide.
slide comprises a plurality
of primers immobilized on     “Tissue sections are placed within the frames of Capture Areas on Visium Spatial slides. Only one
the microscope slide.         section should be placed within each Capture Area.” Id. at 10.




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the ’689 Patent             10X’s Visium Spatial System

                            “Each Visium Spatial or Gateway Gene Expression Slide contains Capture Areas with gene
                            expression spots that include primers required for capture and priming of poly-adenylated mRNA.”
                            CG000239_Visium_Spatial_Gene_Expression_User_Guide_Rev_F at 16.



                            To the extent Visium and related products are argued by Counterclaim-Defendant or found by the
                            Court not to literally infringe certain limitations of the ’689 Patent, infringement of such limitations
                            can be found under the doctrine of equivalents.

5. The method of claim 7,   10X’s Visium includes plurality of primers immobilized on the microscope slide at their 5' ends.
wherein the plurality of
primers is immobilized on
the microscope slide at
their 5' ends.




                            CG000407_VisiumSpatialGeneExpressionforFFPE_UserGuide_RevD at 71.

                            To the extent Visium and related products are argued by Counterclaim-Defendant or found by the
                            Court not to literally infringe certain limitations of the ’689 Patent, infringement of such limitations
                            can be found under the doctrine of equivalents.
6. The method of claim 8,   See supra infringement analysis for Claims 1(c), 1(d), 1(e).
wherein each of step (d)
and step (e) comprise        “Seq-Scope is based on a solid-phase amplification of randomly barcoded single-molecule
performing a solid-phase    oligonucleotides using an Illumina sequencing platform.”
amplification reaction,     https://www.10xgenomics.com/resources/publications?query=34115981&pmid=34115981
wherein the solid-phase



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amplification reaction is
carried out on the
microscope slide using the
plurality of primers
immobilized on the
microscope slide.
7. The method of claim 1,       10X’s Visium performs the sequencing step using a next generation sequencing reaction.
wherein the sequencing
step is performed using a       “The resulting 10x barcoded library is compatible with standard NGS short-read sequencing on
next generation sequencing      Illumina sequencers for massive transcriptional profiling of entire tissue sections.”
reaction.                       https://www.10xgenomics.com/products/spatial-gene-expression.

                                To the extent Visium and related products are argued by Counterclaim-Defendant or found by the
                                Court not to literally infringe certain limitations of the ’689 Patent, infringement of such limitations
                                can be found under the doctrine of equivalents.
8. The method of claim 1,       10X’s Visium performs amplifying a library using the first plurality of extension products and the
further comprising              second plurality of extension products as templates.
amplifying a library using
the first plurality of          “The spatially barcoded, ligated probe products are released from the slide and harvested for qPCR to
extension products and the      determine Sample Index PCR cycle number. The products then undergo indexing via Sample Index
second plurality of             PCR. This, in turn, generates final library molecules that are cleaned up by SPRIselect, assessed on a
extension products as           bioanalyzer or a similar instrument, quantified, and then sequenced.”
templates.                      CG000407_VisiumSpatialGeneExpressionforFFPE_UserGuide_RevD at 21.

                                To the extent Visium and related products are argued by Counterclaim-Defendant or found by the
                                Court not to literally infringe certain limitations of the ’689 Patent, infringement of such limitations
                                can be found under the doctrine of equivalents.
9. The method of claim 1,       10X’s Visium includes at least one nucleic acid sequence that identifies the first location of the tissue
wherein the at least one        sample comprises at least one unique molecular identifier.
nucleic acid sequence that
identifies the first location




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of the tissue sample            “[E]ach spot with primers that include: Illumina TruSeq Read 1 (partial read 1 sequencing primer); 16
comprises at least one          nt Spatial Barcode (all primers in a specific spot share the same Spatial Barcode); 12 nt unique
unique molecular                molecular identifier (UMI); 30 nt poly(dT) sequence (captures ligation product).” Id. at 18.
identifier.


                                To the extent Visium and related products are argued by Counterclaim-Defendant or found by the
                                Court not to literally infringe certain limitations of the ’689 Patent, infringement of such limitations
                                can be found under the doctrine of equivalents.

10. The method of claim 1,      See supra infringement analysis for Claims 1(c), 12.
wherein the at least one
nucleic acid sequence that
identifies the second
location of the tissue          To the extent Visium and related products are argued by Counterclaim-Defendant or found by the
sample comprises at least       Court not to literally infringe certain limitations of the ’689 Patent, infringement of such limitations
one unique molecular            can be found under the doctrine of equivalents.
identifier.
11. The method of claim 1,      10X’s Visium includes the at least one nucleic acid sequence that identifies the first location of the
wherein the at least one        tissue sample comprises at least one amplification primer binding site.
nucleic acid sequence that
identifies the first location   “TruSeq Read 1 and Small RNA Read 2 (Read 2S) are standard Illumina sequencing primer sites used
of the tissue sample            in paired-end sequencing.”
comprises at least one
amplification primer
binding site.




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                             CG000407_VisiumSpatialGeneExpressionforFFPE_UserGuide_RevD at 21.

                             To the extent Visium and related products are argued by Counterclaim-Defendant or found by the
                             Court not to literally infringe certain limitations of the ’689 Patent, infringement of such limitations
                             can be found under the doctrine of equivalents.

12. The method of claim 1,   See supra infringement analysis for Claims 1(c), 15.
wherein the at least one
nucleic acid sequence that
identifies the second
location of the tissue       To the extent Visium and related products are argued by Counterclaim-Defendant or found by the
sample comprises at least    Court not to literally infringe certain limitations of the ’689 Patent, infringement of such limitations
one amplification primer     can be found under the doctrine of equivalents.
binding site.
13. The method of claim 1,   10X’s Visium includes target binding domains comprise a single-stranded nucleic acid molecule.
wherein the target binding
domains comprise a single-   See supra infringement analysis for Claim 1(a).
stranded nucleic acid
molecule.                    “The single stranded ligation products are released from the tissue upon RNase treatment and
                             permeabilization, and then captured on the Visium slides.” Id. at 20.




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                                To the extent Visium and related products are argued by Counterclaim-Defendant or found by the
                                Court not to literally infringe certain limitations of the ’689 Patent, infringement of such limitations
                                can be found under the doctrine of equivalents.

14. The method of claim 1,      10X’s Visium performs steps (b) and (c) of claim 1 simultaneously.
wherein steps (b) and (c)
are performed                   See supra infringement analysis for Claim 1(b), 1(c).
simultaneously.
                                To the extent Visium and related products are argued by Counterclaim-Defendant or found by the
                                Court not to literally infringe certain limitations of the ’689 Patent, infringement of such limitations
                                can be found under the doctrine of equivalents.

15. The method of claim 1,      10X’s Visium performs steps (d) and (e) of claim 1 simultaneously.
wherein steps (d) and (e)
are performed                   See supra infringement analysis for Claims 1(c), 1(d), 1(e).
simultaneously.
                                To the extent Visium and related products are argued by Counterclaim-Defendant or found by the
                                Court not to literally infringe certain limitations of the ’689 Patent, infringement of such limitations
                                can be found under the doctrine of equivalents.

16. A method for spatially      To the extent that the preamble is found to be limiting, 10X’s Visium, including instruments and
detecting at least one target   consumables, is designed and marketed such that it will be used, and is in fact used, to spatially detect
analyte in a first location     at least one target analyte in a first location and a second location of a tissue sample.
and a second location of a
tissue sample comprising:       See supra infringement analysis for Claim 1.

                                To the extent Visium and related products are argued by Counterclaim-Defendant or found by the
                                Court not to literally infringe certain limitations of the ’689 Patent, infringement of such limitations
                                can be found under the doctrine of equivalents.

a) contacting the tissue        10X’s Visium performs contacting the tissue sample with a first plurality of nucleic acid probes (LHS
sample with a first             probes) and a second plurality of nucleic acid probes (RHS probes).
plurality of nucleic acid



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probes and a second           See supra infringement analysis for Claim 1(a).
plurality of nucleic acid
probes,                     To the extent Visium and related products are argued by Counterclaim-Defendant or found by the
                            Court not to literally infringe certain limitations of the ’689 Patent, infringement of such limitations
                            can be found under the doctrine of equivalents.
wherein each of the nucleic 10X’s Visium includes nucleic acid probes in the first plurality of nucleic acid probes comprise a
acid probes in the first    target binding domain (LHS target specific sequence) that binds to the at least one target analyte.
plurality of nucleic acid
probes comprise a target    See supra infringement analysis for Claim 1(a).
binding domain that binds
to the at least one target  To the extent Visium and related products are argued by Counterclaim-Defendant or found by the
analyte,                    Court not to literally infringe certain limitations of the ’689 Patent, infringement of such limitations
                            can be found under the doctrine of equivalents.
wherein each of the nucleic 10X’s Visium includes nucleic acid probes in the second plurality of nucleic acid probes comprise a
acid probes in the second   target binding domain (RHS target specific sequence) that binds to the at least one target analyte.
plurality of nucleic acid
probes comprise a target    See supra infringement analysis for Claim 1(a).
binding domain that binds
to the at least one target  To the extent Visium and related products are argued by Counterclaim-Defendant or found by the
analyte,                    Court not to literally infringe certain limitations of the ’689 Patent, infringement of such limitations
                            can be found under the doctrine of equivalents.
wherein the tissue sample   10X’s Visium treats tissue sample to facilitate binding of the first plurality of nucleic acid probes and
is treated to facilitate    the second plurality of nucleic acid probes to the at least one target analyte.
binding of the first
plurality of nucleic acid   “FFPE tissue sections should be deparaffinized, stained, imaged, and decrosslinked before proceeding
probes and the second       with Visium Spatial Gene Expression for FFPE.”
plurality of nucleic acid
probes to the at least one  CG000407_VisiumSpatialGeneExpressionforFFPE_UserGuide RevD at 37.
target analyte;
                            To the extent Visium and related products are argued by Counterclaim-Defendant or found by the
                            Court not to literally infringe certain limitations of the ’689 Patent, infringement of such limitations
                            can be found under the doctrine of equivalents.




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b) forming ligated probes      10X’s Visium performs forming ligated probes (ligation products) by ligating each of nucleic acid
by ligating each of nucleic    probes from the first plurality of nucleic acid probes and each of nucleic acid probes from the second
acid probes from the first     plurality of nucleic acid probes that are bound to each of identical molecules from the at least one
plurality of nucleic acid      target analyte.
probes and each of nucleic
acid probes from the           See supra infringement analysis for Claim 1(a).
second plurality of nucleic
acid probes that are bound
to each of identical
molecules from the at least    To the extent Visium and related products are argued by Counterclaim-Defendant or found by the
one target analyte;            Court not to literally infringe certain limitations of the ’689 Patent, infringement of such limitations
                               can be found under the doctrine of equivalents.

c) collecting the ligated      10X’s Visium performs collecting the ligated probes, or portions thereof, bound to the at least one
probes, or portions thereof,   target analyte in a first location of the tissue sample under conditions that release the ligated probes, or
bound to the at least one      portions thereof, from the first location of the tissue sample.
target analyte in a first
location of the tissue         See supra infringement analysis for Claim 1(b).
sample under conditions
that release the ligated       To the extent Visium and related products are argued by Counterclaim-Defendant or found by the
probes, or portions thereof,   Court not to literally infringe certain limitations of the ’689 Patent, infringement of such limitations
from the first location of     can be found under the doctrine of equivalents.
the tissue sample;
d) collecting the ligated      10X’s Visium performs collecting the ligated probes, or portions thereof, bound to each of identical
probes, or portions thereof,   molecules from the at least one target analyte in a second location of the tissue sample under
bound to each of identical     conditions that release the probes, or portions thereof, from the second location of the tissue sample.
molecules from the at least
one target analyte in a        See supra infringement analysis for Claims 1(c), 20(c).
second location of the
tissue sample under            To the extent Visium and related products are argued by Counterclaim-Defendant or found by the
conditions that release the    Court not to literally infringe certain limitations of the ’689 Patent, infringement of such limitations
probes, or portions thereof,   can be found under the doctrine of equivalents.



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from the second location of
the tissue sample;
e) performing an extension      10X’s Visium performs performing an extension reaction that incorporates at least one nucleic acid
reaction that incorporates      sequence (primer sequence containing spatial barcode) that identifies the first location of the tissue
at least one nucleic acid       sample into each of the ligated probes, or portions thereof, collected in step (c), thereby forming a first
sequence that identifies the    plurality of extension products (spatially barcoded, ligated probe products) that comprise the ligated
first location of the tissue    probes, or portions thereof, collected in step (c) and the at least one nucleic acid sequence that
sample into each of the         identifies the first location of the tissue sample.
ligated probes, or portions
thereof, collected in step      See supra infringement analysis for Claim 1(d).
(c), thereby forming a first
plurality of extension          To the extent Visium and related products are argued by Counterclaim-Defendant or found by the
products that comprise the      Court not to literally infringe certain limitations of the ’689 Patent, infringement of such limitations
ligated probes, or portions     can be found under the doctrine of equivalents.
thereof, collected in step
(c) and the at least one
nucleic acid sequence that
identifies the first location
of the tissue sample;
f) performing an extension      10X’s Visium performs an extension reaction that incorporates at least one nucleic acid sequence that
reaction that incorporates      identifies the second location of the tissue sample into each of the ligated probes, or portions thereof,
at least one nucleic acid       collected in step (d), thereby forming a second plurality extension products that comprise the ligated
sequence that identifies the    probes, or portions thereof, collected in step (d) and the at least one nucleic acid sequence that
second location of the          identifies the at least second location of the tissue sample.
tissue sample into each of
the ligated probes, or          See supra infringement analysis for Claims 1(c), 20(f).
portions thereof, collected
in step (d), thereby            To the extent Visium and related products are argued by Counterclaim-Defendant or found by the
forming a second plurality      Court not to literally infringe certain limitations of the ’689 Patent, infringement of such limitations
extension products that         can be found under the doctrine of equivalents.
comprise the ligated




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probes, or portions thereof,
collected in step (d) and
the at least one nucleic
acid sequence that
identifies the at least
second location of the
tissue sample; and
g) identifying the first       10X’s Visium performs identifying the first plurality of extension products and the second plurality of
plurality of extension         extension products by sequencing the first plurality of extension products and the second plurality of
products and the second        extension products, thereby spatially detecting the at least one target analyte in the first location and
plurality of extension         the second location of the tissue sample.
products by sequencing the
first plurality of extension   See supra infringement analysis for Claim 1(f).
products and the second
plurality of extension         To the extent Visium and related products are argued by Counterclaim-Defendant or found by the
products, thereby spatially    Court not to literally infringe certain limitations of the ’689 Patent, infringement of such limitations
detecting the at least one     can be found under the doctrine of equivalents.
target analyte in the first
location and the second
location of the tissue
sample.
17. The method of claim        10X’s Visium includes a formalin-fixed paraffin-embedded (FFPE) tissue sample.
16, wherein the tissue
sample is a formalin-fixed     See supra infringement analysis for Claim 4.
paraffin-embedded (FFPE)
tissue sample.                 To the extent Visium and related products are argued by Counterclaim-Defendant or found by the
                               Court not to literally infringe certain limitations of the ’689 Patent, infringement of such limitations
                               can be found under the doctrine of equivalents.
18. The method of claim        10X’s Visium includes tissue sample immobilized onto a microscope slide.
16, wherein the tissue
sample is immobilized          See supra infringement analysis for Claim 6.
onto a microscope slide.



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                              To the extent Visium and related products are argued by Counterclaim-Defendant or found by the
                              Court not to literally infringe certain limitations of the ’689 Patent, infringement of such limitations
                              can be found under the doctrine of equivalents.
19. The method of claim       10X’s Visium includes a microscope slide comprises a plurality of primers immobilized on the
18, wherein the               microscope slide.
microscope slide
comprises a plurality of      See supra infringement analysis for Claim 7.
primers immobilized on
the microscope slide.         To the extent Visium and related products are argued by Counterclaim-Defendant or found by the
                              Court not to literally infringe certain limitations of the ’689 Patent, infringement of such limitations
                              can be found under the doctrine of equivalents.
20. The method of claim       10X’s Visium includes a plurality of primers is immobilized on the microscope slide at their 5' ends.
19, wherein the plurality of
primers is immobilized on See supra infringement analysis for Claim 8.
the microscope slide at
their 5' ends.               To the extent Visium and related products are argued by Counterclaim-Defendant or found by the
                             Court not to literally infringe certain limitations of the ’689 Patent, infringement of such limitations
                             can be found under the doctrine of equivalents.
21. The method of claim      10X’s Visium performs the method of claim 24, wherein each of step (e) and step (f) comprise
20, wherein each of step     performing a solid-phase amplification reaction, wherein the solid-phase amplification reaction is
(e) and step (f) comprise    carried out on the microscope slide using the plurality of primers immobilized on the microscope
performing a solid-phase     slide.
amplification reaction,
wherein the solid-phase      See supra infringement analysis for Claim 9.
amplification reaction is
carried out on the           To the extent Visium and related products are argued by Counterclaim-Defendant or found by the
microscope slide using the Court not to literally infringe certain limitations of the ’689 Patent, infringement of such limitations
plurality of primers         can be found under the doctrine of equivalents.
immobilized on the
microscope slide.
22. The method of claim      10X’s Visium performs sequencing using a next generation sequencing reaction.
16, wherein the sequencing



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step is performed using a     See supra infringement analysis for Claim 10.
next generation sequencing
reaction.                     To the extent Visium and related products are argued by Counterclaim-Defendant or found by the
                              Court not to literally infringe certain limitations of the ’689 Patent, infringement of such limitations
                              can be found under the doctrine of equivalents.
23. The method of claim       10X’s Visium performs amplifying a library using the first plurality of extension products and the
16, further comprising        second plurality of extension products as templates.
amplifying a library using
the first plurality of        See supra infringement analysis for Claim 11.
extension products and the
second plurality of           To the extent Visium and related products are argued by Counterclaim-Defendant or found by the
extension products as         Court not to literally infringe certain limitations of the ’689 Patent, infringement of such limitations
templates.                    can be found under the doctrine of equivalents.
24. The method of claim       10X’s Visium includes the at least one nucleic acid sequence that identifies the first location of the
16, wherein the at least one tissue sample comprises at least one unique molecular identifier.
nucleic acid sequence that
identifies the first location See supra infringement analysis for Claim 12.
of the tissue sample
comprises at least one        To the extent Visium and related products are argued by Counterclaim-Defendant or found by the
unique molecular              Court not to literally infringe certain limitations of the ’689 Patent, infringement of such limitations
identifier.                   can be found under the doctrine of equivalents.
25. The method of claim       10X’s Visium includes the at least one nucleic acid sequence that identifies the second location of the
16, wherein the at least one tissue sample comprises at least one unique molecular identifier.
nucleic acid sequence that
identifies the second         See supra infringement analysis for Claims 1(c), 28.
location of the tissue
sample comprises at least     To the extent Visium and related products are argued by Counterclaim-Defendant or found by the
one unique molecular          Court not to literally infringe certain limitations of the ’689 Patent, infringement of such limitations
identifier.                   can be found under the doctrine of equivalents.
26. The method of claim       10X’s Visium includes nucleic acid probes in the first plurality of nucleic acid probes comprise an
16, wherein the nucleic       amplification primer binding site (Read 2), the nucleic acid probes in the second plurality of nucleic




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acid probes in the first        acid probes comprise an amplification primer binding site, or both nucleic acid probes in the first
plurality of nucleic acid       plurality of nucleic acid probes comprise an amplification primer binding site and the nucleic acid
probes comprise an              probes in the second plurality of nucleic acid probes comprise an amplification primer binding site.
amplification primer
binding site, the nucleic       “TruSeq Read 1 and Small RNA Read 2 (Read 2S) are standard Illumina sequencing primer sites used
acid probes in the second       in paired-end sequencing.” CG000407_VisiumSpatialGeneExpressionforFFPE_UserGuide_RevD at
plurality of nucleic acid       21.
probes comprise an
amplification primer
binding site, or both
nucleic acid probes in the
first plurality of nucleic
acid probes comprise an
amplification primer            Id. at 19.
binding site and the nucleic
acid probes in the second       To the extent Visium and related products are argued by Counterclaim-Defendant or found by the
plurality of nucleic acid       Court not to literally infringe certain limitations of the ’689 Patent, infringement of such limitations
probes comprise an              can be found under the doctrine of equivalents.
amplification primer
binding site.
27. The method of claim         10X’s Visium includes the at least one nucleic acid sequence that identifies the first location of the
16, wherein the at least one    tissue sample comprises at least one amplification primer binding site, the at least one nucleic acid
nucleic acid sequence that      sequence that identifies the second location of the tissue sample comprises at least one amplification
identifies the first location   primer binding site, or both the at least one nucleic acid sequence that identifies the first location of
of the tissue sample            the tissue sample and the at least one nucleic acid sequence that identifies the second location of the
comprises at least one          tissue sample comprise at least one amplification primer binding site.
amplification primer
binding site, the at least      See supra infringement analysis for Claim 15.
one nucleic acid sequence
that identifies the second      To the extent Visium and related products are argued by Counterclaim-Defendant or found by the
location of the tissue          Court not to literally infringe certain limitations of the ’689 Patent, infringement of such limitations
                                can be found under the doctrine of equivalents.



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sample comprises at least
one amplification primer
binding site, or both the at
least one nucleic acid
sequence that identifies the
first location of the tissue
sample and the at least one
nucleic acid sequence that
identifies the second
location of the tissue
sample comprise at least
one amplification primer
binding site.
28. The method of claim        10X’s Visium includes target binding domain of each probe from the first plurality of nucleic acid
16, wherein the target         probes and the second plurality of nucleic acid probes comprises a single-stranded nucleic acid
binding domain of each         molecule.
probe from the first
plurality of nucleic acid      See supra infringement analysis for Claims 17, 20(a).
probes and the second
plurality of nucleic acid      To the extent Visium and related products are argued by Counterclaim-Defendant or found by the
probes comprises a single-     Court not to literally infringe certain limitations of the ’689 Patent, infringement of such limitations
stranded nucleic acid          can be found under the doctrine of equivalents.
molecule.
29. The method of claim        10X’s Visium performs steps (c) and (d) of claim 20 simultaneously.
16, wherein steps (c) and
(d) are performed              See supra infringement analysis for Claims 1(c), 20(c), 20(d).
simultaneously.
                               To the extent Visium and related products are argued by Counterclaim-Defendant or found by the
                               Court not to literally infringe certain limitations of the ’689 Patent, infringement of such limitations
                               can be found under the doctrine of equivalents.
30. The method of claim        10X’s Visium performs steps (e) and (f) of claim 20 simultaneously.
16, wherein steps (e) and



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(f) are performed         See supra infringement analysis for Claims 1(c), 20(e), 20(f).
simultaneously.
                          To the extent Visium and related products are argued by Counterclaim-Defendant or found by the
                          Court not to literally infringe certain limitations of the ’689 Patent, infringement of such limitations
                          can be found under the doctrine of equivalents.




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